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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


Peakspeed, Inc.,                                 Civil File No. 0:20-cv-01630-JRT-BRT

                    Plaintiff,                 PLAINTIFF’S OPPOSITION TO
                                             DEFENDANT’S MOTION TO DISMISS
v.

Timothy Emerson,

                    Defendant.


                                  INTRODUCTION

      Defendant Timothy Emerson’s (“Emerson”) motion to dismiss attempts to

minimize Emerson’s relationship with Plaintiff Peakspeed Inc. (“Peakspeed”) and

downplays his involvement with the Minnesota-based enterprise. Limited jurisdictional

discovery has confirmed that Emerson has significant contacts with the State of

Minnesota, singularly through his involvement and shared-ownership of the Minnesota-

based corporation, Peakspeed.

      As a one-third owner of Peakspeed, Emerson played an integral role in the

creation of the Minnesota-based company. Peakspeed’s primary place of business is

Minnesota and benefits to its employees flow from Minnesota. Peakspeed’s Chief

Executive Officer (“CEO”) resides in Minnesota; its Vice President of Engineering

resides in Minnesota; the finances and managerial aspects of the company are handled

from Minnesota; and Peakspeed’s vetted clients are based in Minnesota. As a part-owner

and integral part of the Peakspeed team, Emerson had constant daily contacts with the

forum state of Minnesota.
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       Based on a totality of the circumstances, specific personal jurisdiction under the

Eighth Circuit’s five-part test is established. Additionally, Emerson’s tortious actions

towards the forum state are a basis for personal jurisdiction. Emerson has tortiously

converted Peakspeed funds and, under the Calder effects test, effectively has committed

an intentional tort expressly aimed at the forum state. Finally, Emerson reasonably knew

based on Peakspeed’s place of business and its CEO’s place of residence, that he could be

haled into court in Minnesota. For all these reasons, and the others discussed below,

Emerson’s motion to dismiss for lack of personal jurisdiction should be denied.

                                    BACKGROUND

I.     Emerson’s Longstanding Ties with Minnesota

       Emerson’s ties to Minnesota relate back approximately 35 years when he lived in

Saint Paul and attended The University of Saint Thomas. Decl. of Donna Reuter

(“Reuter Decl.”) Ex. 1, at 14:6–11. He spent four years in Saint Paul while he earned his

computer science degree. Id. at 14:3, 14:11. He also worked for Cray Research, located

in Mendota Heights, Minnesota. Id. at 15:19–21.

       In mid-2019 Emerson connected with David Eaton, an acquaintance and

Minnesota resident, to help him salvage his floundering business, EmersonAI LLC

(“EmersonAI”). Id. at 118:6–13. David Eaton did so, going so far as to extend

EmersonAI a $25,000 bridge loan from his personal funds. Id.; see also Reuter Decl.

Ex. 2 (showing transfer of funds to EmersonAI business checking from David Eaton in

Wayzata, MN). EmersonAI was failing, but the shared vision of creating a novel



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orthorectification software was still believed to be achievable. Reuter Decl. Ex. 3, at

242:12–23. David Eaton had no interest in resurrecting EmersonAI, but rather wanted to

be part of something new. Id. at 232:19–24. The transition to a new company,

Peakspeed, was under discussion.

II.    Emerson and Minnesota Resident David Eaton Work Together to Form
       Peakspeed, a Delaware Corporation Based in Minnesota

       David Eaton took on the task of setting up Peakspeed in early 2020. Reuter Decl.

Ex. 1, at 108:13–109:4. For David Eaton to helm the organization made the most sense:

he had successfully sold a startup to Hewlett-Packard, which demonstrated his business

acumen, and more importantly he had the funds to finance the venture. Reuter Decl.

Ex. 3, at 217:25–218:3, 235:2–4. Upon mutual agreement, David Eaton, Emerson, and a

third individual agreed to form and each share in a third ownership of the corporation,

Peakspeed. Reuter Decl. Ex. 1, at 114:5–7; see also id. at 119:22–24 (“[W]e had an

agreement that we were forming Peakspeed, a third, a third, a third. He would be CEO; I

would be CTO.”); Reuter Decl. Ex. 4 (“I believe the number one priority for us 3 is to get

the transition from EmersonAI to Peakspeed, Inc. completed.”). Accordingly, Peakspeed

was incorporated in Delaware with its principle place of business in Minnesota. Compl.

¶ 5. Invoices and accounts list Peakspeed’s billing address in Excelsior, Minnesota. See

generally Reuter Decl. Ex. 5.

III.   In his Capacity as CTO of Peakspeed, Emerson was Involved in Daily Calls,
       Emails, and Conversations with Individuals in Minnesota

       Peakspeed employees all worked remotely from home offices. See generally

Reuter Decl. Ex. 3, at 136:25–137:1–17. By July 2020, the company had eight



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employees, two of whom lived in Minnesota. Id. at 137:18–25. The remainder were

located in Florida, Colorado, and Texas. Id. at 136:25–137:17. Daily communications

via email, text, and messenger transpired between employees. See Decl. of David

Zimmerman (“Zimmerman Decl.”) ¶ 6; Decl. of David Caliga (“Caliga Decl.”) ¶ 6. See

e.g., Reuter Decl. Ex. 13, at 1 (listing Emerson’s email address as

Tim.Emerson@peakspeed.io). Microsoft Teams conversations were recurrent amongst

employees. See, e.g., Reuter Decl. Ex. 6 (message from Emerson to dev@peakspeed.io:

“Great work everyone. It took a lot of hard work putting together the new development

environment.”).

       Emerson was an integral member of Peakspeed. Reuter Decl. Ex. 1, at 140:22–25

(“[S]o we had a disagreement on whether – he saw me as an employee. I saw myself as a

partner. We each owned a third of Peakspeed. That’s why I thought myself as a

partner.”). Emerson characterized his role as working on the technology, while David

Eaton managed Peakspeed’s business needs. Id. at 108:7–15, 167:8–12. As the

corporation’s Chief Technical Officer, Emerson worked on source code daily during

2020. Id. at 137:17–19. Emerson was also privy to Peakspeed’s proprietary information.

Id. at 28:19–29:7.

       As an integral member of the team, Emerson often communicated with core

programmers daily via Microsoft Teams. See e.g., Reuter Decl. Ex. 1, at 137:8–13; Ex.

14; Ex. 15; Ex. 16. Additionally, he was in constant contact with CEO David Eaton and

VP of Engineering David Zimmerman, both Minnesota residents. See Reuter Decl. Ex.

1, at 109:5–13; Zimmerman Decl. ¶ 7.


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IV.      Emerson Executed a Contract, on Behalf of Peakspeed, Listing
       Peakspeed’s Minnesota Address

       In his capacity as “President and CTO” Emerson signed a Non-Disclosure

agreement between Peakspeed and Xilinx in March 2020. Reuter Decl. Ex. 7. The

document lists Peakspeed’s principle office at Excelsior, Minnesota. Id. Emerson signed

on behalf of Peakspeed. Reuter Decl. Ex. 1, at 113:2–8. At the time of signing, Emerson

believed himself to be a co-owner of the Minnesota-based organization, Peakspeed. Id. at

113:12–15.

V.     Peakspeed’s Funding Came from Minnesota

       One of David Eaton’s roles was handling company finances. Reuter Decl. Ex. 3,

at 34:1–3. Instead of paying the bills and salaries directly from his personal account (in

Minnesota) he transferred his funds to a Wells Fargo account created by Emerson. Id. at

34:23–35:8; see also Reuter Decl. Ex. 2. That Wells Fargo account, opened by

EmersonAI before Peakspeed was formed, was already set up with direct deposit for

some of the individuals who became Peakspeed employees. Reuter Decl. Ex. 3, at

62:10–63:10. David Eaton opened a Peakspeed bank account and in June 2020, was

finally able to pay employees directly from the Peakspeed account. Id. at 63:12–21.

Regardless of the circuitous method of disbursing funds, all funds flowed from David

Eaton’s account in Minnesota and ultimately paid all of Peakspeed’s expenses. His

funding kept Peakspeed afloat.

       In late 2019, as EmersonAI was failing, Emerson acknowledged Eaton’s

contributions: “I truly appreciate all your support and generosity. Without the Eatons




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EmersonAI would not exist today. When we switch to a C-corp, it would also be a good

time to recognize that the company is way more than Emerson.” Reuter Decl. Ex. 8. In

this exchange, Emerson is referencing the $25,000 David Eaton has offered to keep

EmersonAI afloat until the company employees can be transitioned to Peakspeed.

       As explained above Peakspeed employee salaries and benefits flowed from David

Eaton’s personal bank account. Ultimately, Emerson was paid out of the funds provided

by David Eaton. Furthermore, company invoices and bills were billed to David Eaton

and his funds paid the outstanding debt. See, e.g., Reuter Decl. Ex. 9. David Eaton paid

for employee equipment and software development tools used by employees and

downloaded on employee computers. See, e.g., Reuter Decl. Exs. 10–12. Ultimately all

these resources flowed from Minnesota.

VI.    Several of Peakspeed’s Potential Clients and Partners are based in Minnesota

       Aside from managing the company’s finances and cash flow, David Eaton

managed Peakspeed’s commercialization. Emerson characterizes David Eaton as a great

salesman. Reuter Decl. Ex. 1, at 164:3–7. David Eaton’s involvement was essential to

building business relationships with potential clients. Reuter Decl. Ex. 3, 141:4–10.

       Many of Peakspeed’s potential clients are recognizable Minnesota-based

organizations. Eaton was in negotiations with both commercial and government

customers in Minnesota. Reuter Decl. Ex. 1, at 138:12–15. This connection with

Minnesota is not coincidental; rather, David Eaton’s reputation and ties to Minnesota

fostered these local relationships and rapport. Reuter Decl. Ex. 3, 141:4–10. See id. (“I

have [a] lot more relationships with large companies in Minnesota, so that is a natural



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place for us to be concentrating our sales effort.”). Fundamentally, Peakspeed’s potential

client roster reflects the significance of David Eaton’s connections with Minnesota-based

businesses. 1

VII.   A Dispute Arises, and This Lawsuit is Filed

       In July 2020, Emerson informed Eaton—for the first time—that Emerson believed

the source code generated by Peakspeed employees from January to July 2020 was in fact

owned by a separate entity, his company, EmersonAI. ECF No. 24, ¶ 86. Emerson

claims to be under the impression that for the entirety of 2020, EmersonAI was working

in tandem with Peakspeed as two wholly different organizations. See Reuter Decl. Ex. 1,

at 76:24–77:3.

       Emerson also claims that he has “never been paid anything by Peakspeed” and all

his work through July 2020 was done for EmersonAI through his consulting firm

Emerson Consulting LLC. ECF No. 24, ¶ 113. This distorted version of reality is shared

only by Emerson and is refuted by the record. Reuter Decl. Ex. 1, at 140:23–25 (“[S]o

we had a disagreement on whether – he saw me as an employee. I saw myself as a

partner. We each owned a third of Peakspeed. That’s why I thought myself as a

partner.”). CEO David Eaton and the six employees he managed, understood that they

were working for Peakspeed. See Decl. of Oscar Kramer (“Kramer Decl.”) ¶ 2; Decl. of

Patrick Losique (“Losique Decl.”) ¶ 3; Decl. of Matthew Baldin (“Baldin Decl.”) ¶ 3;




1 The names of Peakspeed’s potential clients have been omitted because this information
is highly confidential and has been designated as Attorneys’ Eyes Only.


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Decl. of Joe Greshik (“Greshik Decl.”) ¶ 3; Caliga Decl. ¶ 2; Zimmerman Decl. ¶ 2.

They all continue to work for Peakspeed. Id.

       Because the Peakspeed principals and employees were focused primarily on

developing and marketing software to make the business viable, the administrative

aspects of Peakspeed were implemented over time. For example, the corporation was

registered in late January, the Peakspeed bank account was set up in February, and the

Peakspeed account finally had the ability to make direct deposit payments to employees

in June. Reuter Decl. Ex. 3, at 16:10–17, 63:12–21. The code was transferred to

Peakspeed, Mr. Emerson began signing agreements on behalf of Peakspeed, and the

registration of products and software – including Microsoft, the Xilinx account, and so on

– were transitioned to Peakspeed over a period of weeks. See Reuter Decl. Exs. 5, 7.

       The record supports that the companies overlapped in many ways and that

Emerson knew he was working for Peakspeed, despite his current denials. Emerson now

disclaims a relationship with Peakspeed in order to evade personal jurisdiction in

Minnesota. On August 28, Emerson filed a motion to dismiss this case for lack of

personal jurisdiction, arguing that this dispute is insufficiently related to Minnesota to

justify an exercise of jurisdiction. See ECF Nos. 21, 23. Plaintiff opposes this motion.

                                       ARGUMENT

       This is an intellectual property dispute between a corporation based in Minnesota

and Emerson. For over half a year, Emerson worked with others to create code. In that

capacity, he held himself out as CTO of Peakspeed, he used a Peakspeed email account,




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he utilized software paid for by Peakspeed, and he executed a contract on behalf of

Peakspeed.

I.     Legal Standards

       Emerson seeks to dismiss the Complaint for lack of personal jurisdiction pursuant

to Rule 12(b)(2). In order to survive a motion to dismiss for lack of personal jurisdiction

Plaintiff need only make a prima facie case showing personal jurisdiction exists.

Zumwalt v. Advanced Mktg. & Processing, Inc., No. 19-cv-2194 (PJS/LIB), 2019 U.S.

Dist. LEXIS 211733, at *3 (D. Minn. Nov. 8, 2019), adopted by 2019 U.S. Dist. LEXIS

210645 (D. Minn. Dec. 6, 2019) (citing K-V Pharm. Co. v. J. Uriach & CIA, S.A., 648

F.3d 588, 591-92 (8th Cir. 2011)). Here, both parties have engaged in limited

jurisdictional discovery and there has been no evidentiary hearing; therefore, the prima

facie standard is appropriate. Equine PSSM Genetics, LLC v. Animal Genetics, Inc., No.

14-493 (MJD/FLN), 2015 U.S. Dist. LEXIS 23967, at *5–6 n.1 (D. Minn. Feb. 10, 2015);

see also Northbrook Dig. LLC v. Vendio Servs., 625 F. Supp. 2d 728, 748 (D. Minn.

2008) (“Neither party represents that jurisdictional discovery is complete . . . or advises

that an evidentiary hearing is needed. Without further guidance from the parties, this

Court concludes that the prima facie standard applies to the current motion.”)

       Peakspeed must show that Minnesota’s long-arm statute has been satisfied and

that the exercise of jurisdiction comports with the Due Process Clause of the Fourteenth

Amendment. Wessels v. Nat’l Med. Waste, Inc., 65 F.3d 1427, 1431 (8th Cir. 1995).

Such a showing requires only “sufficient facts to support a reasonable inference that the

defendant can be subjected to jurisdiction within the state.” Id. (internal quotations



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omitted). The “evidentiary showing required at the prima facie stage is minimal.” K-V

Pharm. Co., 648 F.3d at 592. Furthermore, such evidentiary support provided in the

pleadings, affidavits, and exhibits supporting or opposing the motion is viewed in the

light most favorable to the plaintiff. Id.; Northbrook Dig., 625 F. Supp. 2d at 748 (“The

prima facie standard still controls when the parties provide documentary evidence beyond

the allegations in the complaint.” (citations omitted)); Equine PSSM Genetics, 2015 U.S.

Dist. LEXIS 23967 at *6 n.1 (finding prima facie standard was appropriate as the Court

was “solely relying on the motion papers and written submissions”). All factual conflicts

must be resolved in plaintiff’s favor in “deciding whether the plaintiff made the requisite

showing.” K-V Pharm. Co., 648 F.3d at 592.

II.    This Court Has Specific Personal Jurisdiction Over Emerson Based on His
       Substantial, Repeated Contacts with Minnesota Individuals and
       Corporations, Directly Related to This Dispute

       Personal jurisdiction may be established in one of two ways—general or specific

jurisdiction. Advanced Duplication Servs.,LLC v. Payne, No. A05-1132, 2006 Minn.

App. Unpub. LEXIS 254, at *6 (Mar. 21, 2006). For specific jurisdiction, a non-resident

defendant must “have certain minimum contacts with [the forum] such that the

maintenance of the suit does not offend traditional notions of fair play and substantial

justice.” Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945) (quotations omitted). If

personal jurisdiction is established for any single claim, the Court may exercise

jurisdiction over any other claims that “arise out of the same common nucleus of

operative facts” pursuant to the doctrine of pendent personal jurisdiction. Rilley v.




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MoneyMutual, LLC, No. 16–4001 (DWF/LIB), 2017 U.S. Dist. LEXIS 139377, at *6–7

(D. Minn. Aug. 30, 2017).

       Emerson must have “fair warning” that his Minnesota contacts, “may subject

[him] to . . . jurisdiction” here. Burger King Corp. v. Rudzewica, 471 U.S. 462, 472

(1985) (quotations omitted). The “fair warning” requirement will be met if Emerson “has

purposefully directed his activities at residents of [Minnesota], and the litigation results

from alleged injuries that arise out of or relate to those activities.” Id. (quotations and

citations omitted). Such Minnesota contacts must not “arise[] due to mere fortuity, but

rather he must have ‘purposefully availed himself of the benefits and protections of th[is]

state.” Custom Conveyor Corp. v. Hyde, 237 F. Supp. 3d 895, 898 (D. Minn. 2017)

(internal citations and quotation marks omitted).

       The Eighth Circuit considers five factors when determining whether sufficient

minimum contacts exist for personal jurisdiction: “(1) the nature and quality of the

contacts with the forum state; (2) the quantity of the contacts; (3) the relationship of the

cause of action to the contacts; (4) the interest of [the forum state] in providing a forum

for its residents; and (5) the convenience or inconvenience to the parties.” K-V Pharm.,

648 F.3d at 592 (alteration in original) (quotations omitted). The first three factors are

the primary factors considered in the analysis; however, all factors are considered in the

aggregate in deciding whether personal jurisdiction exists. Custom Conveyor Corp., 237

F. Supp. 3d at 899; see K-V Pharm., 648 F.3d at 592–93 (“[W]e look at all of the factors

and the totality of the circumstances in deciding whether personal jurisdiction exists.”).




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       In addition to this five-part “minimum contacts” test, personal jurisdiction can be

supported by the Calder “effects test” to establish that Emerson’s contacts with

Minnesota are sufficient to support a finding of specific personal jurisdiction. Travel

Leaders Leisure Grp., LLC v. Cruise & Travel Experts, Inc., No. 19-cv-02871

(SRN/ECW), 2020 U.S. Dist. LEXIS 143810, at *22 (D. Minn Aug. 11, 2020) (citing

Calder v. Jones, 465 U.S. 783, 790 (1984)). Under the “effects test,” personal

jurisdiction can be established by a prima facie showing that “‘the defendant’s acts (1)

were intentional, (2) uniquely or expressly aimed at the forum state, and (3) caused harm,

the brunt of which was suffered—and which the defendant knew was likely to be

suffered—[in the forum].’” Id. (quoting Paisley Park Enters., Inc. v. Boxill, 361 F. Supp.

3d 869, 878 (D. Minn. 2019)). This test in conjunction with the five-factor analysis,

establishes specific personal jurisdiction.

       A.     The Nature, Quality, and Quantity of Emerson’s Contacts with
              Minnesota Supports Personal Jurisdiction

       Based on Emerson’s involvement with the formation of a Minnesota business and

all the inherent duties and responsibilities therein, he has effectuated extensive contacts

with Minnesota. Emerson was an owner with a one-third interest in Peakspeed, a

company that lists its physical address as Excelsior Minnesota. As an officer of the

organization he engaged in daily communications with employees living and working

from Minnesota. Furthermore, Emerson knew that co-owner and CEO, David Eaton, a

Minnesota resident would reasonably seek resolution from a Minnesota court in the event

of a dispute. Emerson minimizes his relationship with Plaintiff and also downplays his




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role and position within the organization. In more than one instance, Emerson relies on

authority that supports Plaintiffs position. See Calder, 465 U.S. at 791 (affirming the

lower court’s finding of personal jurisdiction); Bandemer v. Ford Motor Co., 931 N.W.2d

744, 751 (Minn. 2019) (affirming lower court’s finding of specific personal jurisdiction);

Sproqit Techs., Inc. v. Visto Corp., No. 04-CV-891 (JMR/FLN), 2004 U.S. Dist. LEXIS

22156, at *15 (D. Minn. Nov. 2, 2004) (denying defendants’ motion to dismiss but

granting defendants’ motion to transfer).

       In order to establish specific jurisdiction, the nature, quantity, and quality of

Emerson’s contacts with Minnesota must be evaluated (i.e., the first three factors of the

Eighth Circuit’s test). Travel Leaders, 2020 U.S. Dist. LEXIS 143810, at *27. This

permits consideration of “how purposeful the defendant’s contact” is with the forum state

and while “random, fortuitous, and attenuated contacts do not confer personal

jurisdiction, even a single contact of the right nature and of sufficient quality can be

enough.” Id. (quotations omitted); see Pope v. Elabo GmbH, 588 F. Supp. 2d 1008, 1021

(D. Minn. 2008) (“[J]ust because a suit arises from a defendant’s single contact with a

forum state, it does not follow that the forum cannot exercise personal jurisdiction over

the defendant.”)

       For a multitude of reasons Emerson has availed himself to Minnesota. First, and

foremost, Emerson was a co-owner responsible for forming the corporation, Peakspeed.

Peakspeed’s principal place of business is in Minnesota. Emerson agreed to partner with

a Minnesota resident, David Eaton, and agreed to receive a one-third ownership stake in




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the company. Peakspeed was duly incorporated in Delaware with its primary place of

business in Minnesota.

       A majority of Peakspeed employees worked remotely from out-of-state; however,

this fact alone will not defeat personal jurisdiction. Recent court decisions support that

requisite minimum contacts can still be established for remote employees as to not defeat

personal jurisdiction. See Travel Leaders, 2020 U.S. Dist. LEXIS 143810, at *28

(finding that almost daily communication with Minnesota-based employees, access to the

Minnesota company’s proprietary information, and working as an officer of the company

were factors that supported jurisdiction); Custom Conveyor, 237 F. Supp. 3d at 901

(finding that extensive daily communication with Minnesota-based employees,

employment and compensation from a Minnesota company, and alleged misappropriation

of trade secrets stored in Minnesota from a Minnesota company were sufficient minimum

contacts); Patterson Dental Supply, Inc. v. Vlamis, No. A16-0399, 2016 Minn. App.

Unpub. LEXIS 894, at *9–10 (Sept. 6, 2016) (reasoning that daily communications,

receipt of benefits and compensation from Minnesota, and supervision from Minnesota

supported a finding of proper personal jurisdiction).

              1.     Constant, Near Daily Communication Supports Purposeful
                     Contact with the Forum

       Frequent, daily, communications amongst out-of-state employees and Minnesota-

based employees supports a finding of personal jurisdiction. Such communications that

are “near constant” and occurring “almost daily” with Minnesota-based employees

supports one form of contact with the forum state. Custom Conveyor, 237 F. Supp. 3d at




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897, 900. Here, Peakspeed team member communication via email, text, and Microsoft

Teams/slack was frequent and recurrent throughout the day. Zimmerman, an employee

with supervisory oversite, and Eaton, CEO, were included in the constant stream of

communication with Emerson and other team members. Although Emerson worked

remotely out of his home in Colorado, his job responsibilities required that he

communicate daily with other employees, including those located in Minnesota This level

of daily communication supports a high quantity of daily contacts with the forum state.

       Emerson cited a number of cases to support his position that phones calls, written

correspondence, and emails are insufficient to support personal jurisdiction. Here, the

“communications were part of some broader effort by the defendant[] to create a

connection with Minnesota” and are distinguishable from the court’s finding in Pederson

v. Frost, 951 F.3d 977, 980 (8th Cir. 2020). Furthermore, based on Emerson’s actions, he

has proactively “tethered” himself to the forum state. Emerson’s contacts with

Minnesota are more than “incidental” or “scattered e-mails” or calls, accordingly the

court can find personal jurisdiction and are distinguishable from the scenarios cited by

Emerson in his brief. Emerson does not cite to a single case where a court has found that

a remote employee communicating with another employee in the forum state was deemed

“incidental” and insufficient to support personal jurisdiction. See ECF No. 23, at 24;

Pederson, 951 F.3d at 980 (outside counsel to California corporation later moved to

Minnesota and sued corporation); Burlington Indus. v. Maples Indus., 97 F.3d 1100, 1103

(8th Cir. 1996) (Alabama corporation hired Arkansas vender to service machinery);

Institutional Food Mktg. Assocs. Ltd. v. Golden State Strawberries, Inc., 747 F.2d 448,


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456 (8th Cir. 1984) (companies and corporation contracted with one another for sale and

purchase of strawberries); Viasystems, Inc. v. EBM-Papst St. Georgen GmbH & Co., KG,

646 F.3d 589, 594 (8th Cir. 2011) (Missouri-based corporation sued German fan

manufacturing corporation). Here, Emerson’s communications to Peakspeed leadership

located in Minnesota were substantive and frequent.

              2.     Essential Functions Allowing Emerson to Earn a Living Were
                     Channeled Through Minnesota

       Peakspeed’s funds flowed from CEO, David Eaton’s Wells Fargo account – set up

and funded in Minnesota – to pay salaries, employee benefits, equipment and software

fees, and all other Peakspeed expenses. As a start-up, employees knew that Eaton was

paying the finances and that funds were paid from his checking personal account (this is

so, even if some employees submitted invoices to EmersonAI). See Numeric Analytics,

LLC v. McCabe, 161 F. Supp. 3d 348, 355–56 (E.D. Pa. 2016) (exercising jurisdiction did

“not offend traditional notions of fair play and substantial justice” because the defendants

“knew they were working for a Pennsylvania company” and all the essential functions

that allowed the defendants to earn a living were channeled through Pennsylvania.).

Here, all of Peakspeed’s essential functions, including payment of employee salaries

flows from Minnesota.

       In addition to paying everyone’s salary, David Eaton paid for health insurance for

Peakspeed employees. Zimmerman Decl. ¶ 4; Reuter Decl. Ex. 3, at 62:18-19. This

payment of salary and benefits creates a continuous connection with the forum state.

Custom Conveyor, 237 F. Supp. 3d at 901; see SoftBrands Mfg. v. Missing Link




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Consulting, Inc., No. 04-3900 ADM/AJB, 2004 U.S. Dist. LEXIS 25462, at *5 (D. Minn.

Dec. 20, 2004) (finding sufficient contacts with Minnesota including that employee

paychecks were issued and their benefits administered from Minnesota); Patterson

Dental, 2016 Minn. App. Unpub. LEXIS 894 at *9 (finding that the exercise of

jurisdiction was appropriate for an at-will employee who received compensation and

benefits pain from Minnesota); Numeric Analytics, LLC v. McCabe, 161 F. Supp. 3d 348,

355 (E.D. Pa. 2016) (“[A]ll of these links with [the forum state] are characteristic of a

traditional employer-employee relationship, except for location, underscoring that

Defendants’ connection to the [forum] is more than incidental.”).     Accordingly, the

funding of equipment, benefits, and salary paid for by funds of Peakspeed’s CEO, a

Minnesota resident, from a Minnesota bank account supports jurisdiction.

        Software and development tool invoices list the company’s billing address as

Excelsior Minnesota. These tools were downloaded on employee computers in order to

perform their job duties. This computer hardware was used by Emerson in his role as

CTO. Issuance of a laptop loaded with confidential and proprietary software by the

employer supports contact with the forum state in a personal jurisdiction analysis. See

SoftBrands, 2004 U.S. Dist. LEXIS 25462 at *17.

              3.     Emerson’s Officer Role Allowed Access to Propriety
                     Information and Ability to Interface with Clients

       Although Emerson’s tenure with Peakspeed was not long, Emerson held an officer

position. As Peakspeed’s CTO Emerson frequently communicated with both the CEO,

David Eaton and VP of Engineering, David Zimmerman, both Minnesota residents.




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Holding a leadership position and communicating daily with Minnesota-based employees

supports a substantial connection to the forum. Taylor v. Phelan, 912 F.2d 429, 433 n.4

(10th Cir. 1990) (“So long as it creates a substantial connection, even a single telephone

call into the forum state can support jurisdiction.”) Email communications involving the

initiation of Peakspeed as a c-corporation and frequent communications with AWS and

Xilinx involved Emerson on almost a daily basis. He was an integral part of the team

involving formative business decisions. See Travel Leaders, 2020 U.S. Dist. LEXIS

143810 at *29 (finding that defendant, company’s President, was “not just [] an

employee” and communicated “almost daily with Minnesota-based employees”

supported jurisdiction).

       Emerson argues that a “corporate officer or agent who has contact with the forum

state only with regard to the performance of corporate duties does not thereby become

subject to jurisdiction in his or her individual capacity.” Blue Zones, Ltd., Liab. Co. v.

Hartley., No. 17-CV-5097 (PJS/LIB), 2018 U.S. Dist. LEXIS 170992, at *9 (D. Minn.

Oct. 2, 2018). This reliance on the fiduciary shield doctrine has been rejected by courts

in this Circuit. See Larson Mfg. Co. of S.D. v. Conn. Greenstar, 929 F. Supp. 2d 924,

930 (D.S.D. 2013) referencing Arkansas Rice Growers Co-op. Ass’n v. Alchemy Indus.,

Inc., 797 F.2d 565, 574 (8th Cir. 1986). In an action for fraud, negligent

misrepresentation, and conversion, the nonresident officers who made actionable

misrepresentations were found to be subject to jurisdiction in the Forum state. Oriental

Trading Co., In. v. Firetti, 235 F.3d 938, 943 (8th Cir. 2001). See also DeRosa v.

McKenzie, 936 N.w.2d 342, 346 (Minn. 2019) (“It is the universal rule that an officer of a


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corporation who takes part in the commission of a tort by the corporation is personally

liable therefor” (internal quotations omitted).). Based on the allegations setting forth

allegations of conversion, the fiduciary-shield doctrine is not applicable here and

Emerson’s argument should be rejected.

       As CTO, Emerson had access to Peakspeed’s proprietary information and “was the

very person who initiated and implemented . . . Non-Disclosure [Agreements].” Travel

Leaders, 2020 U.S. Dist. LEXIS 143810 at *29. In one significant instance, Emerson

signed a Non-Disclosure Agreement on behalf of Peakspeed with major client, Xilinx.

See Reuter Decl. Ex. 7 (listing Peakspeed’s address in Excelsior, Minnesota). Emerson

signed that document on behalf of Peakspeed and therefore cannot deny that he was not

an essential member of the Minnesota-based company’s team. He further cannot deny

that he was unaware that Peakspeed was a Minnesota-based company based on that

signed document.

       Just as this District Court determined earlier this year for a similar factually

situated defendant, Emerson has substantial contacts with Minnesota and “considered in

their totality and based on the claims against him, subject[s] him to suit in Minnesota.”

Travel Leaders, 2020 U.S. Dist. LEXIS 143810 at *28. There, the defendant worked as

an executive and more than just an employee for a Minnesota-based company;

communicated almost daily with Minnesota-based employees; had access to company

proprietary information; implemented NDA Agreements; and understood that “essential

functions” allowing him to earn a living flowed were channeled through Minnesota. Id.




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at *29–30. Emerson does not share all the same characteristics as the defendant in Travel

Leaders, but this should not be enough to defeat a finding of personal jurisdiction.

       Based on an evaluation of the first three, and most important factors of the Eighth

Circuit’s test, a finding of personal jurisdiction is supported.

       B.     The Calder “Effects Test” Provides an Additional Basis for
              Establishing Personal Jurisdiction

       Application of the Calder “effects test” further supports this court’s exercise of

personal jurisdiction. This test is applicable when a “defendant directs intentional,

tortious actions at a resident of the forum, the defendant may reasonably anticipate being

haled into court in the forum to answer for its conduct.” Raymedica, Inc. v. Stoy., No. 01-

1841 (JRT/FLN), 2002 U.S. Dist. LEXIS 19308, at *7–8 (D. Minn. Sep. 30, 2002). See

id. (“[C]ourts in the Eighth Circuit have applied Calder’s ‘effects test’ to assert personal

jurisdiction in cases where a defendant’s minimum contacts might not otherwise be

sufficient.”). Here, allegations of conversion, an intentional tort, have been brought in

the Complaint. By intentionally interfering with Peakspeed’s TrueView source code,

Emerson knew that Peakspeed would be injured in Minnesota because its CEO and

financer resides in Minnesota.

       The “effects test” requires that a “defendant’s acts (1) were intentional, (2) were

uniquely or expressly aimed at the forum state, and (3) caused harm, the brunt of which

was suffered—and which the defendant knew was likely to be suffered—there.” Travel

Leaders, 2020 U.S. Dist. LEXIS 143810, at *33–34 (quotations omitted). For a motion




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to dismiss, the most significant factors are the second and third because the court must

accept as true a plaintiff’s claim that the defendant’s acts were intentional. Id.

       To meet the test requirements, Emerson must have expressly targeted his actions

at Minnesota. Raymedica, Inc. v. Stoy, No. 01-1841 (JRT/FLN), 2002 U.S. Dist. LEXIS

19308, at *13 (D. Minn. Sept. 30, 2002). The inquiry requires that a defendant

“intentionally acted so as to foreseeably cause harm in Minnesota.” Travel Leaders,

2020 U.S. Dist. LEXIS 143810, at *34. Emerson’s “mere knowledge” that Peakspeed

would be harmed in Minnesota is insufficient. Id.

       Here the Complaint alleges that Emerson locked Peakspeed employees out of

Peakspeed’s account and “willfully interfered with Peakspeed’s use and possession of

$20,000 . . . and slowed Peakspeed development of software.” Compl. ¶ 91. Peakspeed

is a corporation with its principal place of business in Minnesota. Id. ¶ 5. “Emerson

wrongfully changed the assignment of Peakspeed’s Amazon Web Service (“AWS”)

account . . . knowing that the resulting harm would be felt in Minnesota.” Id. ¶ 9. These

allegations are sufficient under Calder to support that defendant intentionally interfered

with Peakspeed’s chattel and that the brunt of the injury would fall upon Peakspeed in

Minnesota. See Raymedica, 2002 U.S. Dist. LEXIS 19308 at *14. Emerson should have

reasonably expected to be “haled into court” in Minnesota. Id. (finding allegations that

defendants intentionally interfered with a contract and that the brunt of the injury would

fall upon plaintiff in Minnesota met the criteria set forth in Calder).




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       C.     Minnesota’s Interest & Convenience of the Parties

       If one of these tests is satisfied, the Court may exercise personal jurisdiction over

Emerson unless to do so would be so burdensome and unreasonable as to violate the Due

Process Clause. Pope, 588 F. Supp. 2d at 1021 (explaining that defendant “must show

that, in light of [his] contacts with Minnesota, the burden of litigation on [him] is so

heavy that it outweighs the plaintiffs’ interests, the forum’s interest, and the interests of

the judicial system in in the Court’s exercise of jurisdiction”). This is a very stringent

standard to meet, and Emerson has not come close to demonstrating such extraordinary

burden to defeat personal jurisdiction.

       Emerson is a resident of Colorado, and if required, can reach Minnesota by direct,

two hour plane ride. Furthermore, in light of the Covid-19 health emergency, litigation in

most jurisdictions is conducted remotely if possible. Emerson has failed to articulate any

rationale how litigation of this matter in Minnesota would result in such a “heavy” burden

that it would outweigh Plaintiff’s and this Court’s interest in adjudicating the matter.

Even when a defendant hales from a much farther locale—such as Germany—the burden

of litigating in Minnesota is not so unreasonable as to offend Due Process. See id. at

1022 (noting burden is not unreasonable in this “world of increasing globalization and

improved communication technology”).

       Just as the court articulated in Custom Conveyor, the same came be echoed here:

“[P]ersonal jurisdiction exists over [Emerson] in Minnesota. But this is perhaps not a

surprising result. As discussed above, the touchstone of the due-process inquiry is




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whether a defendant’s forum contacts should put him on notice that he might be sued in

the forum state.” 237 F. Supp. 3d at 901.

III.   In the Event Personal Jurisdiction is Not Found, this Case Should Be
       Transferred to the District of Colorado for Adjudication

       As an alternative to dismissal for lack of personal jurisdiction, Plaintiff requests

transfer to an alternate venue. “Where . . . transfer may be made wholly within the

system of U.S. federal courts, this Court effectively no longer has the power to dismiss

the case outright on grounds that another venue would be a better fit for the parties or the

underlying issues.” See Jacobs Trading, LLC v. Am. Eagle Trading Grp., LLC, No. 16-

cv-00406 (SRN/KMM), 2016 U.S. Dist. LEXIS 133823, at *22 (D. Minn. Sep. 28, 2016)

(quotations omitted).).

       Transfer to an alternate forum is appropriate when a court lacks jurisdiction over a

defendant. See Johnston v. Wilkins, 709 F. App’x 404, 405 (8th Cir. 2018) (per curium)

(concluding that the district court should have considered whether the interest of justice

required transfer of the claim to a proper forum instead of dismissing it for lack of

personal jurisdiction). In the Eighth Circuit, transfer under 28 U.S.C. § 1631 is the

proper mechanism to do so. NexGen HBM, Inc. v. ListReports, Inc., No. 16-cv-3143

(SRN/FLN), 2017 U.S. Dist. LEXIS 147033, at *41 (D. Minn. Aug. 25, 2017) (“Even

where a court lacks personal jurisdiction, it retains the ability to transfer the case to a

district where the case could have been brought.”). Transfer is appropriate “‘if it is in

the interest of justice,’” to do so, and to any district or division in which it could have




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been brought. See NexGen, 2017 U.S. Dist. LEXIS 147033 at *41–42 (quoting 28 U.S.C.

§ 1631).

       If this court does not find specific personal jurisdiction over Emerson, Plaintiff

requests that this matter be transferred to the District of Colorado. 2 Emerson resides in

Colorado, and therefore avails himself to that forum by way of general personal

jurisdiction. ECF No. 23, at 1 (“Emerson is a Colorado resident . . . .”); see Creative

Calling Sols., Inc. v. LF Beauty Ltd., 799 F.3d 975, 979 (8th Cir. 2015) (reasoning that

the Due Process Clause permits a court to exercise “general jurisdiction” to hear claims

against a defendant where his “affiliations with the State are so continuous and

systematic as to render [him] essentially at home in the forum state”).

       In the interest of justice, further adjudication of this suit cannot be delayed and

transfer to an alternate forum would be the best alternative. The underlying suit involves

the theft of intellectual property involving computer technologies and a permanent

injunction has been filed. Time lost in resolving this dispute furthers the harm that

Plaintiff suffers. Plaintiff’s inability to maintain client relationships and its delay to bring

its product to market increases the likelihood that a competitor can steal market

advantage. The commercialization of Peakspeed’s technology requires that time be of

the essence.

       Both parties have invested significant time undergoing expedited discovery and

getting to the root of the conflict. Outright dismissal would negate the time, effort, and


2 Emerson fails to identify any alternate forum claiming that “determinations of
intellectual property ownership . . . has no geographic presence.” ECF No. 23, at 28.


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money already spent pursing resolution of this matter. For these reasons, transfer to an

alternate venue would be most appropriate if personal jurisdiction is not found.

                                      CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that the Court deny

Emerson’s motion to dismiss or in the alternative, transfer this case to the District of

Colorado for adjudication.



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